         Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 1 of 12



Colin Gerstner
Paul Adam
GERSTNER ADAM LAW PLLC
2828 1st Ave. S.
Billings, MT 59101
(406) 969-3100
colin@gerstneradamlaw.com
paul@gerstneradamlaw.com

John Heenan
HEENAN & COOK PLLC
1631 Zimmerman Trail, Ste 1
Billings, MT 59102
(406) 839-9091
john@lawmontana.com

Attorneys for the Plaintiff

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

  KRISTIN MAYER, as conservator for              Cause No. CV-21-38-GF-BMM-JTJ
  Dexxon Butler,
                                                 COMPLAINT AND DEMAND
                       Plaintiff,                FOR JURY TRIAL

  -vs-

  MADISON ADOPTION ASSOCIATES
  LTD.,

                       Defendant.


         Kristin Mayer, acting as conservator for Dexxon Butler, and by and through

her attorneys of record, alleges and complains as follows:



                                     Page 1 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 2 of 12



                      JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this case pursuant to 28

   U.S.C. § 1332(a)(1), as there is complete diversity of citizenship and the

   amount in controversy exceeds $75,000.

2. Plaintiff Kristin Mayer is a citizen of Montana. Dexxon Butler is also a

   citizen of Montana.

3. Defendant Madison Adoption Associates Ltd. (“Madison Adoption”) is a

   corporation that is incorporated in Delaware. Upon information and belief,

   Madison Adoption’s corporate headquarters and principal place of business

   is also in Delaware.

4. Venue is proper in this District because a substantial part of the events or

   omissions giving rise to this claim occurred in Montana. 28 U.S.C. §

   1391(b)(2). In addition, venue is proper in the Great Falls Division pursuant

   to Montana law. LR 3.2(b); Mont. Code Ann. § 25-2-122(2). Dexxon Butler

   is a resident of Cascade County. Madison Adoption is a corporation

   incorporated in a state other than Montana.

5. This Court has personal jurisdiction over Madison Adoption since it is

   subject to the jurisdiction of Montana courts. Fed. R. Civ. P. 4(k). As

   outlined below, Madison Adoption committed acts resulting in accrual

   within Montana of a tort action. Mont. R. Civ. P. 4(b)(1)(B). Specific


                                 Page 2 of 12
       Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 3 of 12



        jurisdiction exits, as Madison Adoption purposefully directed activities in

        Montana, consummated some transactions in Montana, or purposefully

        availed itself of the privilege of conducting activities in Montana.

                               FACTUAL ALLEGATIONS

I.      Dexxon Butler and his placement at the Ranch for Kids

     6. Dexxon Butler was born in China around June 16, 2002. The Chinese

        government assumed care of Dexxon after he was found abandoned as an

        infant.

     7. Dr. Patrick and Tari Butler applied for and were granted permission to adopt

        Dexxon in 2015. The Butlers are a married couple living in Illinois. In

        March 2015, the Butlers brought Dexxon from China to the United States.

        Upon arrival home, the Butlers assumed care of Dexxon as their son. Once

        the adoption process was completed, Dexxon legally became the Butlers’

        son, and he became an American citizen.

     8. Not long after bringing Dexxon into their home, the Butlers decided that

        they no longer wanted custody of him. Upon information and belief, the

        Butlers sent Dexxon to Idaho in July 2015 with the goal of “rehoming” him

        with another family.

     9. For reasons unknown to the Plaintiff, the “rehoming” process was not

        completed in Idaho.


                                      Page 3 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 4 of 12



10. In December 2015, Dexxon was sent to the Ranch for Kids. The Ranch for

   Kids was a facility located in Lincoln County, Montana, that billed itself as a

   “Christian home for ‘at risk’ adoptees who may be experiencing difficulties

   in their new families in the U.S.A.” It claimed to offer effective treatment

   for children with Fetal Alcohol Spectrum Disorder and Reactive Attachment

   Disorder, which are common conditions among adopted children. Parents

   would board adopted children at the Ranch for Kids, sometimes for years at

   a time.

11. In reality, the Ranch for Kids was a de facto prison camp that abused and

   neglected the children that it promised to care for. Abuses including physical

   abuse, such as making children go on 20-mile forced marches on Forest

   Service roads in inclement conditions. Staff would also physically assault

   children as disciplinary measures, including pushing children to the ground,

   physically putting children in various holds, choking children, and pulling

   hair.

12. Diet restrictions were also a form of punishment. As an example, one child

   described how she had been disciplined by being fed only beans and rice,

   sometimes unheated, for almost a whole summer.

13. The Ranch for Kids also psychologically abused the children entrusted in

   their care. The psychological abuse included secluding children and isolating


                                Page 4 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 5 of 12



   them as a punitive measure. Ranch for Kids staff would also verbally abuse

   children. One Ranch for Kids staff member was described as having

   frequently screamed at the children. The Ranch for Kids would also

   withhold prescribed medication as either a disciplinary measure or because

   they did not believe the medications were necessary.

14. The Ranch for Kids utterly failed to educate the children in their care or

   otherwise prepare them for adulthood. One child described the education

   experience at the Ranch for Kids consisting of students taking turns reading

   out of the same textbook for 45 minutes to an hour each day. The manager

   of the Ranch for Kids would speak mostly of financial success and spoke

   against government agencies such as Child Protective Services. Children

   were far behind their peers academically when they left the Ranch for Kids.

15. One participant later testified that the only thing he learned from the Ranch

   for Kids “was how to suppress his anger, and turn it into anger and hatred

   towards himself.”

16. The Ranch for Kids’ abuse and neglect of the children was obvious for

   whomever visited the facility. There were several reports by community

   members who witnessed children being led on forced marches while

   woefully underdressed for the inclement weather. One set of parents who




                                 Page 5 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 6 of 12



   visited their child was shocked by her appearance and described her of

   looking like a dog beating into submission.

17. Dexxon experienced many of the same horrors during his time at the Ranch

   for Kids. This included several of the infamous forced marches.

18. In addition, Dexxon endured significant physical abuse at the Ranch for

   Kids. Staff members strangled Dexxon at least twice, including one time to

   the point of unconsciousness. On another occasion, Dexxon had some

   scarring on his neck due to an accident involving horses, and the Ranch for

   Kids did not seek proper medical attention for the injuries.

19. Dexxon also sustained psychological abuse and a severe lack of education

   and training at the Ranch for Kids.

20. In short, Dexxon suffered significantly because of his time at the Ranch for

   Kids. He suffered physically from the abuse. Dexxon also suffered mentally

   and emotionally from his time there. Dexxon is far behind academically,

   emotionally, and socially when compared to other young adults his age.

21. The Montana Department of Public Health and Human Services

   (“DPHHS”) began investigating the Ranch for Kids after receiving several

   reports of abuse at the facility. This investigation culminated with the

   Department’s removal of 27 children from the Ranch for Kids on July 23,




                                 Page 6 of 12
        Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 7 of 12



         2019. The DPHHS permanently revoked the Ranch for Kids’ license to

         operate on October 9, 2020.

      22. Dexxon was among the children removed from the Ranch for Kids. The

         State of Montana assumed legal custody of Dexxon, as the Butler did not

         want him returned to their home. Dexxon currently lives in a group home in

         Great Falls, Montana. Dexxon is unable to care for himself.

II.      The Role of Madison Adoption

      23. Upon information and belief, the Butlers contracted with Madison Adoption

         to serve as their adoption agency before beginning the process of adopting

         Dexxon. Madison Adoption assumed the duty of ensuring that the adoption

         went through in full compliance with United States and Chinese law.

      24. Madison Adoption’s duty to the Butlers and Dexxon did not end upon the

         completion of the adoption. Instead, Madison Adoption had several post-

         adoption reporting requirements. Madison Adoption also owed a duty to

         Dexxon to make sure his placement served his best interests.

      25. After a child is adopted from China, the China Center for Children’s

         Welfare and Adoption requires adoptive parents to submit separate post

         placement reports six months, one year, two years, three years, four years,

         and five years after the adoption is completed. The adoptive agency is

         responsible for completing the first three Post Adoption Reports.


                                       Page 7 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 8 of 12



26. The Post Adoption Reports are important, as the reporting agency can

   assess how the entire family is adjusting, identify issues, provide suggestions

   and resources, and help facilitate a smooth transition. They also serve to

   assure the Chinese government that the children who are placed with

   permanent families in the United States are receiving appropriate care and

   protection.

27. Federal regulations implement the Chinese Post Adoptive Report

   requirements and impose a duty upon adoption agencies to make “good-faith

   efforts” to encourage participation with the Post Adoption Reports. 22

   C.F.R. § 96.51(c). The adoption agency is required to monitor and supervise

   the adopted child’s placement “to ensure that the placement remains in the

   best interests of the child” and that all Post Adoption Report requirements

   are met. 22 C.F.R. § 96.50(b).

28. If there is a “crisis” in the adoption’s post-placement phase, the adoption

   agency is required to find a counselor that is best equipped to deal with the

   child’s problems. 22 C.F.R. § 96.50(c). If counseling is unsuccessful, the

   adoption agency “assuming custody of the child assumes responsibility for

   making another placement of the child.” 22 C.F.R. § 96.50(d).

29. Madison Adoption makes the Post Adoption Report requirements known to

   adoptive parents at the outset before they complete the adoption process.


                                 Page 8 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 9 of 12



30. Upon information and belief, Madison Adoption did not complete any Post

   Adoption Reports for Dexxon.

31. Madison Adoption failed in its post-adoption requirements for Dexxon. It

   did not investigate Dexxon’s placement after the Butlers sent him away.

   Madison Adoption did not ensure that Dexxon was receiving appropriate

   care and protection.

32. Upon information and belief, Madison Adoption staff would discuss

   Dexxon’s situation with the Butlers. In addition, Madison Adoption staff

   would have discussions with staff from the Ranch for Kids regarding

   Dexxon.

33. Madison Adoption relied upon the Ranch for Kids’ representations for

   Dexxon’s progress. Specifically, Madison Adoption believed the Ranch for

   Kids when staff told Madison Adoption that Dexxon’s dismissal from the

   facility was imminent, and that he would likely be forced into a lockdown

   facility like a psychiatric hospital.

34. Madison Adoption did not do an adequate investigation into whether

   placement at the Ranch for Kids was in Dexxon’s best interests. Madison

   Adoption did not ensure that it was a safe place of Dexxon, nor did it do any

   independent investigation. Upon information and belief, Madison Adoption




                                  Page 9 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 10 of 12



   relied upon the representations made by Ranch for Kids staff concerning

   Dexxon without any subsequent verification.

                      COUNT ONE – NEGLIGENCE

35. Madison Adoption owed a duty of care to Dexxon. This included, but is not

   limited to, a duty to adequately investigate Dexxon’s post placement

   conditions and ensure that he is receiving appropriate care and protection.

   Madison Adoption further owed a duty to complete Post Adoption Reports

   to make sure that Dexxon was having as smooth as a transition as possible to

   life in the United States.

36. Madison Adoption breached its duties to Dexxon. The breaches include, but

   are not limited to, failing to adequately investigate and report on Dexxon’s

   conditions. Madison Adoption did not adequately investigate whether the

   Ranch for Kids was an appropriate placement for Dexxon. In addition,

   Madison Adoption never reported on Dexxon’s post-adoptive placement.

   Madison Adoption did not take adequate measures to protect Dexxon from

   being placed in an abusive requirement.

37. This breach in the standard of care has caused Dexxon to suffer damages.

   An adequate investigation into the Ranch for Kids would have prevented

   Dexxon’s placement with the facility and spared him the physical and

   psychological abuse that he suffered.


                                Page 10 of 12
  Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 11 of 12



                 COUNT TWO – NEGLIGENCE PER SE

38. Madison Adoption violated 22 C.F.R. §§ 96.50 and 96.51 by failing to

   insure Dexxon’s post-adoptive placement was in his best interests and by

   failing to complete the required Post Adoption Reports for the Chinese

   government.

39. The above-cited regulations were enacted to protect adopted foreign

   children like Dexxon. The injuries that Dexxon suffered are the kind of

   injuries that the regulations were designed to prevent. The Post Adoption

   Reporting requirements are designed to make sure the adopted child is

   adjusting to life in the United States and that the child is receiving adequate

   care. The regulations were also designed to govern adoption agencies like

   Madison Adoption.

40. Madison Adoption violations of the federal regulations constitute

   negligence per se. Because of the violations, Dexxon has suffered damages.

   WHEREFORE, Plaintiff seeks judgement against the Defendant as follows:

1. For a judgment for all damages permitted under Montana law in such

   amounts as shall be proven at trial;

2. For costs of this action;

3. For such other relief as the Court deems just.




                                Page 11 of 12
Case 4:21-cv-00038-BMM-JTJ Document 1 Filed 04/09/21 Page 12 of 12



 DATED this 9th day of April, 2021.

                                      GERSTNER ADAM LAW PLLC
                                      HEENAN & COOK

                                      By: /s/ John Heenan
                                      John Heenan
                                      Attorneys for the Plaintiff




                           Page 12 of 12
